4:15-cr-03041-JMG-CRZ   Doc # 118   Filed: 03/24/17   Page 1 of 1 - Page ID # 479




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:15-CR-3041
     vs.
                                                         ORDER
MUSA J. HARRIS,
                Defendant.


     IT IS ORDERED that:

     1.    The defendant's unopposed Motion to Continue (filing 117) is
           granted.

     2.    Defendant Musa J. Harris' sentencing is continued to May 4,
           2017, at 9:30 a.m., before the undersigned United States District
           Judge, in Courtroom No. 1, Robert V. Denney United States
           Courthouse and Federal Building, 100 Centennial Mall North,
           Lincoln, Nebraska. The defendant shall be present at the
           hearing.

     Dated this 24th day of March, 2017.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
